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                                             August 16, 2022

BY ECF
The Honorable Lorna G. Schofield
United States District Court for the Southern District of New York
40 Foley Square
New York, New York 10007

               Re: Dr. Carmody v. NYU, et al., 21-CV-8186 (LGS-VF)

Dear Judge Schofield:

         On behalf of the defendants, we respectfully submit this letter in response to plaintiff Dr.
Kristin Carmody’s August 9, 2022 request for a conference concerning a purported discovery
dispute over text messages. Unfortunately, Dr. Carmody has created a dispute where none exists,
because she cannot accept that the individual defendants and one non-party witness did not have
text messages that she hoped would exist. The simple fact is that, to date, the defendants have
produced to Dr. Carmody all of the responsive text messages they have located on the individual
defendants’ respective personal cell phones. To be clear: there was no “misconduct,” and opposing
counsel’s bald accusations and request for an “adverse inference” sanction are specious and must
be viewed as nothing short of trying to create a sideshow to mask the fact that the claims in this
case lack merit, as the summary judgment motion will reveal.

        Dr. Carmody’s counsel has taken great liberties with the discovery record, as is his wont.
Indeed, while opposing counsel claims – without any proof whatsoever – that defendants are
“withholding . . . text messages,” “have engaged in numerous attempts to avoid discovery
obligations,” or “categorically refuse to comply with their obligations to preserve, search for,
collect and produce relevant communications by text message,” (Pl.’s Letter at p.1), nothing is
further from the truth. Exhibit H to his letter, which includes my July 14 email to Wendy Tsang,
makes plan that defendants did in fact produce relevant text messages. In that email, I also
“confirmed (and reconfirmed) in working with Dr. Femia and Dr. Jamin that they had no
responsive text messages.” Notably, Dr. Jamin, a non-party, made this clear during her deposition
on July 22, which opposing counsel did not mention in his letter to Your Honor:

       Q: You don't have those texts because they were deleted?
       A: No, no. I went to look for them. I don’t have them. I don't know if it’s my phone
       or something, I don’t have them.

(Pl. Exhibit E at 92: 19-23 and 92: 16-17 (“I checked, I don’t have them.”).) Further, my July 14
email stated “Dr. Brotman has no text messages, which we had NYU IT confirm.” In addition, we
produced Dr. Francois’ text messages on July 6, (see Ex. H at p.4), and stated “[w]e have produced
all responsive text messages from Dr. Francois,” (id. at p.2). As it turned out, we received 3 pages


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of text messages from Dr. Francois on August 9 – well before knowing that Dr. Carmody filed her
letter with the Court or even would do so – and produced those text messages on the morning of
August 10. We also had been working with Dr. Abramson and NYU IT as to his text messages,
(see Ex. H. at p.2), and produced two of his responsive text messages on August 10. Dr. Grossman
has no responsive text messages, which we reconfirmed on August 10. Opposing counsel jumped
the gun in filing his letter a mere 4 business days after his office’s last communication to us on this
subject, (see Ex. I), and obviously while we were still working with our clients to determine if
responsive text messages existed.

        Dr. Carmody seems to suggest that a defendant has an obligation to image a cell phone for
text messages, but defendants are unaware of any such obligation under the Federal Rules. In
addition, at no time in discussing electronic-related discovery did the defendants agree to do so.
The fact that Dr. Carmody may have done so voluntarily is of no moment. Given that the
individual defendants used text messaging sparingly, (see Ex. B at 21:14-16, 24:14-16; Ex. C at
15:11-13, 16:4-6 & 15-17, 17:3-5; Ex. F at 72:16-22, 221:8-20; Ex. G at 183:19-23, 184:2-8), it
was more than appropriate to conduct a good-faith, manual search of their text messages on their
personal phones, which counsel reviewed for responsiveness and produced (with some redactions
for communications that had no relationship to Dr. Carmody or the subject matter of this lawsuit).
This process was consistent with Your Honor’s Individual Rules, as defendants handled the search
for text messages in a manner that was “reasonably accessible without undue burden or cost” –
particularly given that, to date, NYU has paid for well in excess of 260 hours for attorneys’ time
on e-discovery and over $63,000 for an e-discovery vendor in this case. See Court’s Indiv. R.
II.1(c) & (d). Requiring a forensic imaging of personal cell phones for the individual defendants
or non-party custodians is not proportional to the needs of the case, and Dr. Carmody has not
remotely carried her burden of showing that such imaging will produce any information that is
relevant to the claims in the case. See Hardy v. UPS Ground Frieght, Inc., 2019 U.S. Dist. LEXIS
121277, at *11, 16 (D. Mass. July 22, 2019) (denying motion to compel forensic imaging of
plaintiff’s cell phone, relying on proportionality, relevance and privacy of personal cell phone data;
“Courts have required that a movant make at least some effort, for example, by way of expert
testimony or an affidavit, to show that this intrusive means of discovery is likely to yield the results
sought.”); Bakhit v. Safety Marking, Inc., 2014 U.S. Dist. LEXIS 86761, at *6-10 (D. Conn. June
26, 2014) (denying plaintiff’s motion for forensic imaging and inspecting cell phones as overly
broad and too intrusive of individual defendants’ personal phones).

        Dr. Carmody’s statement that, at depositions, we prevented the individual defendants from
describing efforts to review their cell phones also misstates the record. For instance, at Dr. Femia’s
deposition, I objected to questions about what Dr. Femia provided to his attorneys, but specifically
stated that “[t]here’s an appropriate way to ask him the question.” (Ex. H at 184: 17-20.)
Immediately thereafter, Attorney Cavaleri asked “what actions” Dr. Femia took to review his cell
phone for text messages, which he answered without any objection on work product or privilege
grounds. (Id. at 184: 22-25 - 185: 1-7.) Thus, we did not “refuse[] to allow Defendants to respond
[to properly framed questions] as to the collection and search process for [] relevant text
messages,” as opposing counsel now erroneously asserts in his letter. (Pl.’s Letter at 3.)




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         Under these circumstances, Dr. Carmody’s request for an “adverse inference” sanction is
baseless for the simple fact that there are no “unproduced text messages” and there is absolutely
no evidence that defendants “fail[ed] to properly preserve, collect and search” for messages.
Contrary to her self-serving statements, NYU’s in-house counsel issued four litigation
preservation/hold notices to relevant custodians from April 2021 through the date of the filing of
this litigation, which demonstrates prudent steps toward preservation. Then, during discovery, text
messages were searched, collected, reviewed and produced as screenshots. All of this shows that
Dr. Carmody’s statement that “Defendants’ determination to keep the relevant documents from
view suggests that the same would be highly damaging to Defendants’ case” is plainly baseless.
Simply put, the defendants have not failed to produce responsive text messages and it is
unfortunate that opposing counsel has sought to create a dispute where none exists. “[A]fter all,
‘a party cannot be compelled to produce that which he does not have.’” Stinson v. City of New
York, 2015 U.S. Dist. LEXIS 99797, at *17 (S.D.N.Y. July 23, 2015) (citation omitted).

        This is just another desperate attempt by Dr. Carmody to fish for some purported evidence
of discrimination or retaliation after the seven depositions she has taken and over 12,000 pages of
documents from defendants have revealed absolutely no such evidence. Consequently, the Court
should deny Dr. Carmody’s request for text messages that do not exist, let alone issue an “adverse
inference” sanction for text messages that do not exist.

                                                   Respectfully submitted,

                                                   CERASIA LAW LLC




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cc:    All Counsel of Record (By ECF)




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